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                                                                                      11/02/2018


                         IN THE UNITED STATES DISTRICT COURT
                        FOR THE WESTERN DISTRICT OF VIRGINIA
                              CHARLOTTESVILLE DIVISION

                                            3:18CV00106
                                       No. ____________

SOUTHERN ENVIRONMENTAL LAW                      )
CENTER,                                         )
                                                )
                      Plaintiff,                )
                                                )
        v.                                      )
                                                ) COMPLAINT FOR DECLARATORY AND
UNITED STATES DEPARTMENT OF                     )       INJUNCTIVE RELIEF
AGRICULTURE,                                    )
UNITED STATES FOREST SERVICE, and               )
OFFICE OF THE GENERAL COUNSEL                   )
of the United States Department of Agriculture, )
                                                )
                      Defendants.               )
                                                )



                                       INTRODUCTION

        1.     This Freedom of Information Act (“FOIA”) suit challenges the unlawful and

unreasonable delay by Defendants United States Department of Agriculture, United States Forest

Service (“Forest Service”), and Office of the General Counsel in responding to four separate

requests for public records.

        2.     Plaintiff Southern Environmental Law Center (“SELC”), a nonprofit public

interest organization dedicated to protecting the environment of the Southeast, submitted each of

the four requests for records in the Forest Service’s custody between July 20, 2017, and July 5,

2018.
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         3.    While the Forest Service has acknowledged receipt of these four requests, it has

failed to provide the requested public records or otherwise provide a determination as required

under FOIA.

         4.    The Forest Service has forwarded at least some of the requested records to the

Office of the General Counsel for a “mandatory review,” though no such review is required by

publicly available law, regulation, or policy, and does not excuse failure to comply with FOIA’s

mandatory deadlines.

         5.    Defendants have violated FOIA by failing “promptly” to provide requested

records and to make a determination within the time allotted under FOIA. 5 U.S.C.

§ 552(a)(3)(A), (a)(6)(A). SELC seeks a declaration that Defendants have violated FOIA and an

order requiring Defendants to provide all nonexempt, responsive documents without further

delay.

                                JURISDICTION AND VENUE

         6.    This Court has jurisdiction over this action pursuant to 5 U.S.C. § 552, 28 U.S.C.

§ 1331, and 28 U.S.C. § 2201.

         7.    Pursuant to 5 U.S.C. § 552(a)(6)(C)(i), Plaintiff is “deemed to have exhausted

[its] administrative remedies” because Defendants have “fail[ed] to comply with the applicable

time limit provisions.”

         8.    Venue is proper in this Court under 5 U.S.C. § 552(a)(4)(B). SELC is a 501(c)(3)

nonprofit organization headquartered and residing in Charlottesville, Virginia, in the Western

District of Virginia.




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                                             PARTIES

                                             Plaintiffs

       9.      Plaintiff Southern Environmental Law Center, Inc. (“SELC”) is a 501(c)(3),

nonprofit public interest environmental law firm with a focus on six southeastern states.

       10.     SELC is a “person” for purposes of FOIA, 5 U.S.C. § 551(2).

       11.     SELC uses public advocacy and the law to protect the people and the natural

resources of the Southeast and, in particular, to gather, analyze, and disseminate public

information about activities affecting human health and the environment in the Southeast. SELC

disseminates public information it gathers to the general public through its website,

southernenvironment.org, which is updated regularly, as well as press releases, social media, and

public comment letters. SELC attorneys also regularly attend and speak at public meetings and

hearings throughout the region, informed by and sharing their analysis of public information.

SELC has been actively engaged in protecting the environment of the Southeast at the federal,

state, and local levels for three decades.

       12.     SELC submitted each of the four FOIA requests to promote transparency around

matters of significant public interest.

       13.     For each of the four requests, SELC requested waiver of any fees on the basis that

disclosure of the information would be in the public interest.

                                             Defendants

       14.     Defendant United States Department of Agriculture is the federal agency

responsible for the activities of Defendant United States Forest Service and Defendant Office of

the General Counsel.




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        15.     Defendant Forest Service is an agency within the United States Department of

Agriculture and is the entity to which Plaintiff’s four FOIA requests were submitted.

        16.     Defendant Office of the General Counsel is an agency within the United States

Department of Agriculture and currently has custody of at least some of the records sought in

Plaintiff’s requests.

        17.     Defendants United States Department of Agriculture, Forest Service, and Office

of the General Counsel are each “agencies” for purposes of FOIA. 5 U.S.C. § 551(1).

                                              FACTS

                        Plaintiff’s July 20, 2017 Request for Communications
                                Concerning the Atlantic Coast Pipeline

        18.     The Atlantic Coast Pipeline (“the pipeline”) is an interstate natural gas pipeline

that, as proposed, would cross the George Washington and Monongahela National Forests,

federally owned lands managed by the Forest Service. The pipeline would require a Special Use

Permit from the Forest Service, which in turn would require amendments to the management

plans for the George Washington and Monongahela National Forests.

        19.     Until December of 2016, the Forest Service indicated that it could not evaluate

proposed management plan amendments without information it requested related to mitigation of

landslide and erosion hazards. After December 2016, however, the Forest Service reversed its

position and expedited the Special Use Permit and plan amendments, abandoning its demand for

that information.

        20.     On July 20, 2017, in order to better understand this abrupt reversal, Plaintiff

submitted a request to the Washington Office of the Forest Service (the “Washington Office”)

for “communications consisting of direction and/or instructions … regarding the grant or denial

of forest plan amendments and/or special use permits for the Atlantic Coast Pipeline” and



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“communications from developers of the Atlantic Coast Pipeline to the Forest Service ….” A

copy of that FOIA request is attached as Exhibit 1.

       21.     Plaintiff’s request specifically sought records exclusively in the custody of the

Forest Service’s Washington Office. For example, Plaintiff asked for communications in the

custody of the Washington Office that were received from the Department of Agriculture, the

White House, any office within the Executive Office of the President, or from the Atlantic Coast

Pipeline. See Exhibit 1.

       22.     Plaintiff submitted identical requests to the George Washington National Forest,

the Monongahela National Forest, and the Regional Offices responsible for each of these

National Forests (Regions 8 and 9, respectively).

       23.     Several records provided by the Monongahela National Forest indicate that there

are responsive records in the custody of the Washington Office. For example, the Associate

Deputy Chief of the Forest Service and the Undersecretary of Natural Resources and

Environment for the Department of Agriculture were in communication about the project with

each other, with Regional and Forest staff, and with the Atlantic Coast Pipeline.

       24.     Nevertheless, the Forest Service did not respond to the request by providing

communications in the custody of the Washington Office. Instead, the Forest Service

“combined” the request with others that were being processed at the Regional level and

“administratively closed” Plaintiff’s July 20, 2017 request.

       25.     The Forest Service’s administrative handling of the request had the effect of a

denial of the request for records in the custody of the Washington Office.

       26.     At that time, Plaintiff was not informed that the request had been closed, did not

receive records from the Washington Office, and did not receive a determination that there were




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no such records or that records existed but were being withheld.

       27.     On July 3, 2018, Plaintiff wrote to the Washington Office seeking to expedite the

production of records responsive to the July 20, 2017 request.

       28.     After discovering that the request had been administratively closed, the

Washington Office reopened the request with a new case number on July 11, 2018.

       29.     On October 15, 2018, Plaintiff again wrote to the Washington Office requesting

an estimated completion date for the request.

       30.     The Forest Service still has not provided records from the Washington Office in

response to Plaintiff’s July 20, 2017 request for records and has not responded to Plaintiff’s

October 15, 2018 request for a completion date.

       31.     More than 20 working days have passed since SELC submitted this request.

                          Plaintiff’s June 22, 2018 Request Regarding
                           Mountain Valley Pipeline Noncompliance

       32.     The ability of the Atlantic Coast Pipeline to comply with requirements protecting

soil and water as it crosses the mountainous terrain of the National Forests is an issue of

significant public concern.

       33.     The Mountain Valley Pipeline is another proposed interstate natural gas pipeline

that would cross federally owned lands managed by the Forest Service—namely, the

Monongahela and Jefferson National Forests. The Mountain Valley Pipeline is already under

construction in similar terrain as the Atlantic Coast Pipeline.

       34.     On June 22, 2018, Plaintiff submitted a request to the Jefferson National Forest

and Region 8, seeking records concerning the Mountain Valley Pipeline’s noncompliance with

applicable erosion and sediment control measures and any actual or potential violations of water

quality standards. A copy of this FOIA request is attached as Exhibit 2.



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          35.   On June 25, 2018, Region 8 acknowledged receipt of the request and indicated

that the search for responsive records would commence that same day. Region 8 also stated that

completion of the request would require an additional 10 days beyond the usual 20-workday

limit. Assuming this extension was properly invoked, the time for Region 8’s response pursuant

to FOIA would have expired on August 7, 2018.

          36.   On October 5, 2018, Plaintiff wrote to Region 8 to inquire as to the request’s

status.

          37.   That same day, Region 8 replied that the records were processed and forwarded to

Defendant Office of the General Counsel in Washington, D.C., for “mandatory review” on July

25, 2018, and that a final response would be forthcoming when that review was completed.

          38.   No publicly available law, regulation, or policy requires a mandatory review of

requested records by the Office of the General Counsel.

          39.   To date, neither the Office of the General Counsel nor the Forest Service has

provided any documents responsive to SELC’s request or a completion date for the request.

          40.   More than 30 working days have passed since SELC submitted this request.

                       Plaintiff’s January 3, 2018 Request Regarding Revisions
                           to the Forest Service’s NEPA Procedures
          41.   The Forest Service is currently considering changes to its Environmental Analysis

and Decision-Making (“EADM”) process, including revisions to agency regulations

implementing the National Environmental Policy Act (“NEPA”).

          42.   Changes to the EADM process have been under consideration since at least

September 26, 2017, the date of a national Forest Service workshop in Phoenix, Arizona, on the

subject.




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         43.   On December 11, 2017, the Secretary of Agriculture met with the Secretary of

Interior and representatives of the timber industry and other proponents of increased timber

harvest on federal lands, about plans to increase levels of timber harvest on federally managed

lands.

         44.   Shortly thereafter, on January 3, 2018, the Forest Service announced its intention

to revise its NEPA regulations in the Federal Register, with the goal of “complet[ing] more

projects” by, for example, modifying, reducing, or eliminating process and analysis

requirements. 83 Fed. Reg. 302 (Jan. 3, 2018).

         45.   That same day, on January 3, 2018, Plaintiff submitted a request to the

Washington Office for records relating to the Forest Service’s efforts to revise its NEPA

regulations, including records relating to the Forest Service workshop in Phoenix and the

meeting between the Secretary of Agriculture and timber industry representatives. A copy of that

FOIA request is attached as Exhibit 3.

         46.   On July 5, 2018, having received no response other than an automated email

acknowledgement from the Washington Office, Plaintiff sent a follow-up letter seeking to

expedite the request. The Washington Office stated on July 11, 2018, that it was “working with

the program office to quickly get the documents.”

         47.   On October 15, 2018, still having received no responsive records from the Forest

Service, Plaintiff again inquired about the status of the request and asked for an estimated

completion date. That inquiry was not acknowledged.

         48.   To date, the Forest Service has not provided any documents responsive to SELC’s

request or a completion date for the request.

         49.   More than 20 working days have passed since SELC submitted this request.




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             Plaintiff’s July 5, 2018 Request for Records Related to the Processing
                             of Freedom of Information Act Requests

       50.      On July 5, 2018, having received no records from the Washington Office for any

of its outstanding requests, Plaintiff submitted another request to the Washington Office seeking

records of any changes to FOIA policy or practice, instructions or direction to deviate from

existing FOIA policy or practice, review of FOIA requests for purposes other than responding to

those requests, sorting of FOIA requests by subject matter or the requester’s identity, and the

processing of Plaintiff’s own outstanding FOIA requests. A copy of that request is attached as

Exhibit 4.

       51.      Existing records responsive to this request would include, for example, changes to

policies or practices requiring “mandatory review” by the Office of the General Counsel for

particular requests or types of requests.

       52.      On July 17, 2018, Plaintiff participated in a telephone call with the Washington

Office to clarify the request. Those clarifications were memorialized by emails exchanged on

August 2, 2018, and August 8, 2018.

       53.      On October 15, 2018, having received neither responsive records nor any

determination from the Washington Office, Plaintiff inquired by email as to the request’s status

and asked for an estimated completion date. The Forest Service has not responded to that

inquiry.

       54.      To date, the Forest Service has not provided any documents responsive to SELC’s

request or a completion date for the request.

       55.      More than 20 working days have passed since SELC submitted this request.




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                                   LEGAL BACKGROUND

         56.   The Freedom of Information Act, 5 U.S.C. § 552, reflects “a general philosophy

of full agency disclosure unless information is exempted under clearly delineated statutory

language.” Dep’t of Air Force v. Rose, 425 U.S. 352, 360–61 (1976) (quoting legislative history)

(internal quotation marks omitted). FOIA “shines a light on government operations ‘to check

against corruption and to hold the governors accountable to the governed.’” Coleman v. Drug

Enforcement Admin., 714 F.3d 816, 818–19 (4th Cir. 2013) (quoting Nat’l Labor Relations Bd. v.

Robbins Tire & Rubber Co., 437 U.S. 214, 242 (1978)).

         57.   “[T]he time provisions of the Act are central to its purpose.” Hayden v. U.S.

Dep’t of Justice, 413 F. Supp. 1285, 1288 (D.D.C. 1976). FOIA requires federal agencies to

“promptly” make records available upon request. 5 U.S.C. § 552(a)(3)(A). Agencies must

“determine . . . whether to comply” with a request within 20 working days of receiving the

request, and they must “immediately notify” the requester of that determination. Id.

§ 552(a)(6)(A).

         58.   To make a “determination” under FOIA, “the agency must at least inform the

requester of the scope of the documents that the agency will produce, as well as the scope of the

documents that the agency plans to withhold under any FOIA exemptions.” Citizens for

Responsibility & Ethics in Washington v. Fed. Election Comm’n, 711 F.3d 180, 186 (D.C. Cir.

2013).

         59.   Agencies may extend their deadline for responding by up to 10 working days if

unusual circumstances apply and they provide timely notice to the requester. Id. § 552(a)(6)(B).




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        60.     If the agency seeks to extend a deadline further than 10 working days, it must

work with the requester to modify the request so it can be fulfilled within the 10 working day

extension or arrange an alternative time period. 5 U.S.C. § 552(a)(6)(B)(ii); 7 C.F.R. § 1.16.

        61.     If an agency of the Department of Agriculture fails to meet a deadline under

FOIA, it must notify the requester and provide an expected completion date. 7 C.F.R. § 1.17.

                                     CLAIMS FOR RELIEF

                                             Count 1

        62.     Plaintiffs incorporate by reference paragraphs 1 through 61 of this Complaint as if

fully stated herein.

        63.     Defendants have violated FOIA by failing to provide SELC with all non-exempt

responsive records for the four FOIA requests attached hereto as Exhibits 1 through 4.

        64.     By failing to provide SELC with all non-exempt responsive records to its four

FOIA requests, Defendants have denied SELC’s right to this information as provided by law

under FOIA.

        65.     Unless enjoined by this Court, Defendants will continue to violate SELC’s legal

right to be provided with copies of the records that it has requested in these four FOIA requests.

        66.     SELC is directly and adversely affected and aggrieved by Defendants’ failure to

provide responsive records to its four FOIA requests as described above.

                                    PRAYER FOR RELIEF

        WHEREFORE, Plaintiffs respectfully request that this Court:

        (i)     Declare that Defendants have violated and are continuing to violate FOIA by

                failing to timely respond to each and all of SELC’s four requests;




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       (ii)    Declare that Defendants have violated and are continuing to violate FOIA by

               improperly withholding documents that are responsive to each and all of SELC’s

               four requests;

       (iii)   Direct Defendants to provide all nonexempt, responsive documents to SELC

               without further delay;

       (iv)    Retain jurisdiction over this matter to rule on any assertions by Defendants that

               any responsive documents cannot be found or are exempt from disclosure;

       (v)     Order Defendants to produce an index identifying any documents or parts thereof

               that it withholds and the basis for the withholdings pursuant to 5 U.S.C. §§

               552(a)(8) and 552(b), in the event that Defendants determine that any responsive

               records are exempt from disclosure;

       (vi)    Award Plaintiff its reasonable attorneys’ fees and costs pursuant to 5 U.S.C.

               § 552(a)(4)(E);

       (vii)   Grant any other relief the Court deems just and proper.



Respectfully submitted, this 1st day of November, 2018.


                                         /s/ Morgan Butler
                                         Morgan Butler – VA Bar No. 70409

                                         /s/ Kimberley Hunter
                                         Kimberley Hunter – NC Bar No. 41333 (Motion for
                                         Admission pro hac vice forthcoming)

                                         /s/ Sam Evans
                                         Sam Evans – NC Bar No. 44992 (Motion for
                                         Admission pro hac vice forthcoming)

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